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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI, individually
and on behalf of all others similarly situated,

                    Plaintiff,

       v.                                         Civ. A. No. 4:20-cv-00005-ELR

MOHAWK INDUSTRIES, INC., and
JEFFREY S. LORBERBAUM,

                    Defendants.


     DEFENDANTS’ NOTICE OF SERVING INITIAL DISCLOSURES

      Defendants Mohawk Industries, Inc. (“Mohawk”) and Jeffrey S. Lorberbaum

(collectively, “Defendants”), hereby notify the Court that they have served their

Initial Disclosures by electronic and first class mail to all Counsel of Record on

November 29, 2021, pursuant to Federal Rule of Civil Procedure 26(a), L.R. 26.1,

and the Scheduling Order filed in the above-captioned action on November 12, 2021

(ECF No. 66).

      Respectfully submitted this 29th day of November, 2021.
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                  LOCAL RULE 7.1D CERTIFICATION

      By signature below, counsel certifies that the foregoing document was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1B.

                                    /s/ Robert R. Long
                                    Robert R. Long
                                    Georgia Bar No. 141546
        Case 4:20-cv-00005-ELR Document 68 Filed 11/29/21 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on the 29th day of November, 2021, I electronically filed

the foregoing DEFENDANTS’ NOTICE OF SERVING INITIAL DISCLOSURES

with the Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing upon Counsel of Record.




                                      /s/ Robert R. Long
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                                      Georgia Bar No. 141546
